    Case 1:10-cv-00215-SA Document 2 Filed 12/20/10 PageID.1 Page 1 of 4




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Attonteyfot Plaintiff


                             IN TIIE UMITD STATES DISTRICT COURT

                             DISTRICT OT UTAH, NORTIIERN DII'ISION


MELISSA OLSEN,                                            COMPLAINT

                      Plaintifl

                                                          Case no: 1:10-cv-00215-SA

BONNEVILLE BILLING AND
COLLECTIONS, INC.,
                                                          JTJRY   TRIAL DEMANDED
                     Defendant.
                                       I. INTRODUCTION
        l.     This is an action for damages brought by an individual consumer for Defendant's

violations ofthe federal Fair Debt Collection Practices Act, 15 U.S.C. $ 1692, ei se4. @ereinafter

"FDCPA',).

                                       II. JURISDICTION
       2.      Plaintiffs claim for violations of the FDCPA    adses under 15 U.S.C. $   169k(d),

and therefore involves a "federal question" pursuant to 28 USC $ I 33 I .




                                         III.   PARTIES

       3.      Plaintitr, Melissa Olsen C'Plaintitr), is a natural person residing       in   Weber
     Case 1:10-cv-00215-SA Document 2 Filed 12/20/10 PageID.2 Page 2 of 4




County, Utah.

        4.      Defendant, Bonneville       Billiag and Collectiots, Inc., C'Defendant") is           a

corporation engaged     in the business of collecting debts by use of the mails and       telephone.

Defendant regularly attempts to collect debts alleged due another.

                                      IV. FACTUALALLEGATIONS
        5.      Defendant is a "debt collector" as defined by the FDCPA, l5 U.S.C. $ 1692a(6).

        6.      Plaintifis   a "consumer" as defined by the FDCPA, 15 U.S.C. g 1692a(3).

        7.      All activities of Defendant   set out herein were undertaken in connection with     tlle

collection ofa "debt," as defin€d by l5 USC g 1692a(5).

       8.       Within the last yea!, Defendant took multiple actions in an attempt to collect a

debt fiom Plaintiff. Defendant's conduct violated the FDCPA in multiple ways, including the

following.

       9.       In aonrcction with an attempt to aollect an alleged debt from Plaintift providing

the identity of Defendant to a third party, Plaintifs parents, without such information being

exprcssly rcquested (g 1692b(l) & g 1692c@));

       10.      Disclosing to a tbird party, Plaintiffs parents, the exislenc€ of the det't allegedly

owed by Plaintiff (g 1692b(2)   &   S 1692c(b))t

       ll.      Cornnunicating with a single third party morc than once, Plaintiffs parents, in

connection with an attempt to collect an alleged debt from Plaintiff(g 1692b(3)    & g 1692c(b));
    Case 1:10-cv-00215-SA Document 2 Filed 12/20/10 PageID.3 Page 3 of 4




           12.   Engaging    ir   conduct the natural consequence of which is to harass, oppress, or

abuse Plaintiff, including calling        Plaintifs   parents repeatedly and attempting        to   coerce

Plaintiffs parents into paying the debt ($ 1692d));

           13.   Overshadowing the diwlosures required by 15 USC $ 1692g(a) during the thiity-

clay dispute period, including threatening to take legal action against      Plaintiff dudng the 30-day

dispute period, while failing to explain to Plaintiff the ramifications of the threatened legal

actions with rcspect to her right to dispute the debt (1692g(b));

        14.      Failing to provide Plaintiffwith the notices rcquired by 15 USC $ 16929, either in

the initial communication with Plaintiff, or in writing within 5 days thereof, including failing to

state the identity of the   curent crcditor in the initial letter to P1aintiff. Plaintiff is still unaware

who the aurrent areditor is for the debt ($ 1692g(a)).

        15.      As a result of the aforementioned violations, Plaintitr sufercd and continues to

suffer injudes to Plaintiffs feelings, personal humiliation, embanassment, mental anguish atld

severe emotional distless-

        16-      Defendant intended to cause, by means of the actions detailed above, injuries to

Plaintifs feelings,   personal humiliation, embarassment, mental anguish and severc emotional

disaess.

       17.       Defendant's actions, detailed above, were undertaken               with   exhaordinary

diuegard of, or inditrercnca to, known or highly probable risks to purported debtors.

       18.       To the extent Defendant's actions, detailed in paragraphs 8-14, were canied out

by an employee of Defendan! that employee was acting within the scope of his or                       her

employment.
    Case 1:10-cv-00215-SA Document 2 Filed 12/20/10 PageID.4 Page 4 of 4




       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       19,        Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       20.        The preceding paragnphs st^te a pfima facie case for Plaintiff and against

Defendant       for violations of the FDCPA, $S 1692b0X2X3), 1692d, 1692c.i5), 16929(a) &

1692g(b).   .


                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entercd against the

Defendant for the following:

       A.         Declaratoryjudgment that Defendant's conduct violated the FDCPA;

       B.         Actual damages pursuant to 15 USC 1692k;

       C.         Statutory damages pusuant to 15 U.S.C. $ 1692k;

       D.         Costs, disbursements and reasonable attomey's fees for   all successful claims, and

any unsuccessfirl claims arising out of the sane tansaction o! ocaurrence as the successfirl

claims, pursuant to 15 U.S.C. 0 1692k; and,

       E,         For such other and further reliefas may be just and proper.

                     PLAINTIFF HEREBY REOTJESTS A TRIAL BY JURY



                  Dated this 136 day ofDecember, 2010.

                                                                        wGROUP,P.C.




PLAINTIFF'S ADDRESS
Washington Tenace, UT

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